 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22   Page 1 of 28 PageID 576



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

JENNIFER VANDERSTOK, et al.,

     Plaintiffs,

v.                                     Civil Action No. 4:22-cv-00691-O

MERRICK GARLAND, in his official
capacity as Attorney General of the
United States, et al.,

     Defendants.


  BRIEF OF THE DISTRICT OF COLUMBIA AND THE STATES OF
   NEW JERSEY, PENNSYLVANIA, CALIFORNIA, COLORADO,
    CONNECTICUT, DELAWARE, HAWAII, ILLINOIS, MAINE,
 MARYLAND, MASSACHUSETTS, MICHIGAN, MINNESOTA, NEW
     YORK, NORTH CAROLINA, OREGON, RHODE ISLAND,
WASHINGTON, AND WISCONSIN AS AMICI CURIAE IN SUPPORT OF
                      DEFENDANTS
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                               Page 2 of 28 PageID 577



                                        TABLE OF CONTENTS


INTRODUCTION AND INTEREST OF AMICI STATES .....................................1

BACKGROUND .......................................................................................................2

SUMMARY OF ARGUMENT .................................................................................5

ARGUMENT .............................................................................................................5

         I.       The Final Rule Fits Squarely Within The GCA’s
                  Comprehensive Scheme, Which Was Designed To Fill Gaps In
                  State-By-State Enforcement ..................................................................5

         II.      The Final Rule Complements State Efforts To Regulate
                  Unserialized Firearms............................................................................9

                  A.      At least 14 jurisdictions, including the District, have
                          passed their own laws regulating kits and other
                          unserialized firearms ....................................................................9

                  B.      Despite state efforts, the number of unserialized firearms
                          has grown exponentially ............................................................12
                  C.      The Final Rule closes the gaps inherent in state-by-state
                          enforcement ................................................................................15
CONCLUSION ........................................................................................................18
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                                Page 3 of 28 PageID 578



                                      TABLE OF AUTHORITIES

                                                        Cases

Abramski v. United States, 573 U.S. 169 (2014) ...................................................2, 8

FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120 (2000) .........................7

Moore v. State, 983 A.2d 583 (Md. Ct. Spec. App. 2009) ......................................16

Torres v. Lynch, 578 U.S. 452 (2016) .......................................................................9

United Auto., Aircraft & Agric. Implement Workers of Am. v. Wis. Emp.
  Rels. Bd., 351 U.S. 266 (1956) .............................................................................1

United States v. Cruikshank, 92 U.S. 542 (1875) ....................................................17

                                                Federal Statutes

18 U.S.C. § 921 ................................................................................................. 2, 3, 5

18 U.S.C. § 922 ........................................................................................... 2, 7, 8, 14

18 U.S.C. § 923 ....................................................................................................2, 16

                                                   Regulations

Definition of “Frame or Receiver” and Identification of Firearms,
  87 Fed. Reg. 24652 (Apr. 26, 2022) ........................................ 1, 3, 4, 5, 9, 12, 16

                                              Legislative History

H.R. Rep. No. 90-1577 (1968) .................................................................... 6, 7, 8, 16

114 Cong. Rec. 13647 (1968) ....................................................................................8




                                                           ii
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                              Page 4 of 28 PageID 579



                                                 State Statutes
Ala. Code § 13A-11-64 ..............................................................................................9

Cal. Penal Code § 16519 ................................................................................... 10, 16

Cal. Penal Code § 16531 ..........................................................................................10

Cal. Penal Code § 29180 ..........................................................................................11

Cal. Penal Code § 29182 ..........................................................................................11

Cal. Penal Code § 30400 ................................................................................... 10, 11

Conn. Gen. Stat. Ann. § 29-36a ........................................................................ 10, 11

Conn. Gen. Stat. Ann. § 53-206j..............................................................................10

D.C. Code § 7-2501.01 ..............................................................................................9

D.C. Code § 7-2504.08 ............................................................................................11

D.C. Code § 7-2505.01 ............................................................................................11

D.C. Code § 7-2505.02 ............................................................................................11

D.C. Code § 22-4503 ...............................................................................................15

D.C. Code § 22-4514 ...............................................................................................10

Del. Code Ann. tit. 11, § 1448 .................................................................................15

Del. Code Ann. tit. 11, § 1448A ..............................................................................11

Del. Code Ann. tit. 11, § 1448B ..............................................................................11

Del. Code Ann. tit. 11, § 1459A ....................................................................... 10, 11

Haw. Rev. Stat. Ann. § 134-10.2 ...................................................................... 10, 11

720 Ill. Comp. Stat. Ann. 5/24-5.1.................................................................... 10, 11

Ind. Code § 35-47-2-18 ..............................................................................................9

                                                         iii
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                             Page 5 of 28 PageID 580



Md. Code Ann., Pub. Safety § 5-703 ................................................................ 10, 11

Mass. Gen. Laws ch. 269, § 11E..............................................................................11

Minn. Stat. Ann. § 609.667 ......................................................................................10

Mont. Code Ann. § 45-6-326 .....................................................................................9

Neb. Rev. Stat. § 28-1207 ..........................................................................................9

N.J. Stat. Ann. § 2C:39-9 .................................................................................. 10, 11

N.J. Stat. Ann. § 2C:58-2 .........................................................................................11

N.J. Stat. Ann. § 2C:58-3 .........................................................................................15

N.Y. Penal Law § 265.01 .........................................................................................10

N.Y. Penal Law § 265.07 .........................................................................................11

N.Y. Penal Law § 265.60 .........................................................................................11

N.Y. Penal Law § 265.61 .........................................................................................11

N.Y. Penal Law § 265.63 .........................................................................................11

N.Y. Penal Law § 265.64 .........................................................................................11

Nev. Rev. Stat. Ann. § 202.360 ...............................................................................15

Nev. Rev. Stat. Ann. § 202.3625 .............................................................................11

Nev. Rev. Stat. Ann. § 202.363 ...............................................................................10

Nev. Rev. Stat. Ann. § 202.3635 .............................................................................10

R.I. Gen. Laws Ann. § 11-47-2................................................................................10

R.I. Gen. Laws Ann. § 11-47-8......................................................................... 10, 11

R.I. Gen. Laws Ann. § 11-47-40..............................................................................11



                                                         iv
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                           Page 6 of 28 PageID 581



S.D. Codified Laws § 22-14-5 ...................................................................................9

Tex. Penal Code Ann. § 31.11 ...................................................................................9

Wash. Rev. Code Ann. § 9.41.092...........................................................................11

Wash. Rev. Code Ann. § 9.41.111 ...........................................................................11

Wash. Rev. Code Ann. § 9.41.113 ...........................................................................11

2022 Wash. Sess. Laws ch. 105 (S.H.B. 1705) ................................................ 10, 11

                                  Newspapers and Media Reports

Andrew Blankstein & Eric Leonard, Ex-con who killed California cop used
  homemade ‘ghost gun,’ NBC News (Aug. 15, 2019).........................................15

Brad Brooks, California school shooting shines light on murky ‘ghost gun’
   world, Reuters (Nov. 22, 2019) ..........................................................................15

Ryan Hill, ‘Ghost guns are everywhere’: San Diego’s firefight continues
  to get ghost guns off of the street, ABC 10 News (Feb. 19, 2022) .....................12

Jeff Pegues, Rise in crime fueled in part by ‘ghost’ guns, ATF says,
   CBS News (Feb. 2, 2022) ...................................................................................12

Brian Saunders, Philadelphia arrests gunmaker as Biden regulates ghost guns,
   Phila. Tribune (Apr. 11, 2022)............................................................................12

Bill Whitaker, Ghost Guns: The build-it-yourself firearms that skirt most federal
   gun laws and are virtually untraceable, CBS News (May 10, 2020) ................14

Ovetta Wiggins, Baltimore plans to sue ‘ghost gun’ part maker as state law takes
  effect, Wash. Post (May 31, 2022) ......................................................................12

                                            Other Authorities

80% Arms, Buying Guns Online Without An FFL ....................................................6

Cal. Dep’t of Just., Armed and Prohibited Persons System Report 2021 ...............14



                                                       v
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22                             Page 7 of 28 PageID 582



Everytown for Gun Safety, Untraceable: The Rising Specter of
  Ghost Guns (2020) ..............................................................................................13

Int’l Ass’n of Chiefs of Police, 2018 Resolutions (Nov. 2018) ...............................17

JSDSupply, FNS – Lower Parts Kit, Complete Kits for a Complete Build ...............6

JSDSupply, Stealth Arms Parts & Kits ....................................................................13

Scott R. Kegler et al., Vital Signs: Changes in Firearm Homicide and
   Suicide Rates – United States, 2019-2020, Morbidity & Mortality
   Weekly Report (May 13, 2022) ............................................................................1

Polymer80, 80 Lower ...............................................................................................13

Travis Taniguchi et al., Nat’l Police Found., The Proliferation of Ghost
   Guns: Regulation Gaps and Challenges for Law Enforcement (2021) .. 12, 13, 14

Franklin E. Zimring, Firearms and Federal Law: The Gun Control Act of
   1968, 4 J. Legal Stud. 133 (1975) .....................................................................6, 7




                                                         vi
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22      Page 8 of 28 PageID 583



            INTRODUCTION AND INTEREST OF AMICI STATES

      The District of Columbia and the States of New Jersey and Pennsylvania, on

behalf of themselves and the States of California, Colorado, Connecticut,

Delaware,    Hawaii,   Illinois,   Maine, Maryland,    Massachusetts,   Michigan,

Minnesota, New York, North Carolina, Oregon, Rhode Island, Washington, and

Wisconsin (collectively, the “Amici States”), file this brief as amici curiae in

support of the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) and

its authority to enact the Final Rule at issue.     See Definition of “Frame or

Receiver” and Identification of Firearms, 87 Fed. Reg. 24652 (Apr. 26, 2022) (to

be codified at 27 C.F.R. pts. 447, 478, 479). Amici States’ “dominant interest” in

“preventing violence . . . cannot be questioned. It is a matter of genuine local

concern.” United Auto., Aircraft & Agric. Implement Workers of Am. v. Wis. Emp.

Rels. Bd., 351 U.S. 266, 274 (1956).

      In recent years, gun violence has exploded across the country. Gun-related

homicides rose nearly 35 percent between 2019 and 2020, reaching their highest

level in over 25 years. Scott R. Kegler et al., Vital Signs: Changes in Firearm

Homicide and Suicide Rates – United States, 2019-2020, Morbidity & Mortality

Weekly Report (May 13, 2022), https://bit.ly/3yt5X0a. At the same time, advances

in firearms technology have contributed to the rapid proliferation of “ghost guns”:

unserialized firearms that can be built at home from easily assembled weapon parts
 Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 9 of 28 PageID 584



kits or partially complete frames or receivers.      Though individual states have

worked diligently to protect their citizens from gun violence and address this

emerging threat, there is a natural limit to states’ abilities to combat a nationwide

problem that crosses state borders. Absent federal enforcement, ghost guns have

continued to proliferate, including in the very states that have been trying to keep

them out. Consistent with the federal Gun Control Act of 1968 (“GCA” or “the

Act”), the Final Rule fills this gap in state-by-state enforcement by expressly

regulating weapon parts kits and partially complete frames or receivers as firearms.

In doing so, it advances the “twin goals” of the GCA: “to keep guns out of the

hands of criminals and others who should not have them, and to assist law

enforcement authorities”—the bulk of whom operate at the state and local level—

“in investigating serious crimes.” Abramski v. United States, 573 U.S. 169, 180

(2014).

                                 BACKGROUND
      To support state and local law enforcement, the GCA regulates the

possession, manufacture, sale, and transfer of “firearms.” See 18 U.S.C § 921 et

seq. It generally prohibits certain people, such as felons, domestic abusers, and

juveniles, from gun possession, id. § 922(g), (x)(2), and it requires federal firearms

licensees to serialize each firearm, run a background check before every sale, and

record each gun transaction, id. §§ 922(t), 923(g), (i). Because these provisions


                                          2
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 10 of 28 PageID 585



apply only to “firearms,” what constitutes a firearm is essential to any proper

interpretation of the Act. The Act defines a “firearm” in relevant part as “any

weapon (including a starter gun) which will or is designed to or may readily be

converted to expel a projectile by the action of an explosive,” or “the frame or

receiver of any such weapon.” Id. § 921(a)(3).

      Recent advances in firearms technology have prompted the ATF to

reexamine its rules implementing the GCA. In the past few years, the ghost gun

industry has exploded, driven in large part by the online sale of weapon parts kits.

These user-friendly kits typically contain nearly complete firearms parts and

require a minor amount of assembly to become fully functional weapons. 87 Fed.

Reg. at 24662.     As these firearms kits proliferated, so too have self-made,

unserialized guns. Law enforcement officers went from recovering about 1,700

self-made guns in 2016 to over 19,000 in 2021, an eleven-fold increase. 87 Fed.

Reg. at 24656. Altogether, officers recovered about 45,240 self-made guns during

that five-year period—more than 40 percent of which were recovered in 2021

alone. 87 Fed. Reg. at 24656. The rise of these kits revealed two problems. First,

a person explicitly banned from gun possession under the GCA could still buy a kit

and assemble a fully functional gun within hours. Second, because the finished

product was unserialized, officers could not track the gun if it was later used in a

crime. Indeed, of the 45,240 suspected ghost guns recovered from 2016 to 2021,

                                         3
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 11 of 28 PageID 586



only 445 could be traced—a less than one percent success rate. 87 Fed. Reg. at

24659.

      The Final Rule takes important steps to remedy that problem by clarifying

how the Act’s key terms will be enforced. First, the Rule explicitly includes

weapon parts kits in its definition of “firearm”:

      Firearm. Any weapon, including a starter gun, which will or is designed to
      or may readily be converted to expel a projectile by the action of an
      explosive; the frame or receiver of any such weapon . . . . The term shall
      include a weapon parts kit that is designed to or may readily be completed,
      assembled, restored, or otherwise converted to expel a projectile by the
      action of an explosive.

87 Fed. Reg. at 24735. Second, the Rule clarifies that a partially complete frame

or receiver, or a frame or receiver kit, is a “frame” or “receiver” under the GCA if

it can readily be converted to function as such. 87 Fed. Reg. at 24739. Third, the

Rule defines “privately made firearm” and “readily” for the first time and

enumerates relevant factors for assessing whether something can “readily” be

converted to expel a projectile. 87 Fed. Reg. at 24735. And fourth, it provides

detailed instructions on how and when licensees must mark firearms. 87 Fed. Reg.

at 24741-42.    Notably, the Rule does not ban weapon parts kits or partially

complete frames or receivers. It merely treats them the same as conventionally

manufactured guns, and it allows law-abiding citizens to privately assemble guns

for personal use if they so wish.


                                          4
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22         Page 12 of 28 PageID 587



                          SUMMARY OF ARGUMENT

        1. The Final Rule is consistent with the text, history, and purposes of the

GCA. As the Rule recognizes, readily assembled weapon parts kits or partially

complete frames or receivers are “firearms” under the statute’s plain text. The

history and context of the Act confirm this commonsense interpretation. Congress

enacted a broad scheme to regulate the interstate flow of firearms, and the Rule

ensures that the Act and similar state laws are not thwarted by advances in gun

technology.

        2. The Final Rule is a vital backstop to states’ efforts to stem the flow of

ghost guns and combat the violence that has resulted. In response to the recent

influx of ghost guns, at least 14 jurisdictions have enacted their own laws

regulating weapon parts kits and partially complete frames or receivers. But absent

federal enforcement, the number of unserialized guns has proliferated, leaving in

its wake a spike in crime and violence. The Final Rule serves a vital coordinating

function, consistent with the GCA, that states cannot exercise on their own.

                                   ARGUMENT

   I.      The Final Rule Fits Squarely Within The GCA’s Comprehensive
           Scheme, Which Was Designed To Fill Gaps In State-By-State
           Enforcement.
        Under a plain reading of the Act, easy-to-assemble weapon parts kits and

partially complete frames or receivers fall within the statutory definition of

“firearm” because they are both “designed to . . . expel a projectile by the action of
                                        5
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22         Page 13 of 28 PageID 588



an explosive,” and “may readily be converted” to do just that.            18 U.S.C.

§ 921(a)(3). As the ATF recognized, the text focuses on a weapon’s proximity to

full functionality and not on its immediate ability to fire a projectile. 87 Fed. Reg.

at 24685; see 18 U.S.C. § 921(a)(3) (defining a “firearm” to include a “starter

gun,” which are filled with blanks but can readily be converted to fire an

explosive). Weapon parts kits similarly meet that proximity threshold because

they are, by design, easy to convert into a fully functional firearm—and in fact,

they are consistently marketed as practical substitutes to conventional weapons.

See, e.g., JSDSupply, FNS – Lower Parts Kit, Complete Kits for a Complete Build,

https://bit.ly/3anxK8N (last visited July 8, 2022) (describing kits as essentially

“fully functional firearm[s] without the hurdles of a background check or

government fees”); 80% Arms, Buying Guns Online Without An FFL,

https://bit.ly/3P9SksZ (last visited July 8, 2022) (urging visitors to “buy a ‘gun’

online with 80% Arms!”).

      This interpretation is reinforced by the Act’s history and context: ending

“mail order murder.” H.R. Rep. No. 90-1577, at 19 (1968). At the time, Congress

and the public were reeling from the high-profile murders of President John F.

Kennedy, Martin Luther King, Jr., and Robert F. Kennedy, whose deaths focused

attention on mail-order guns and helped pressure Congress to act. Franklin E.

Zimring, Firearms and Federal Law: The Gun Control Act of 1968, 4 J. Legal

                                          6
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 14 of 28 PageID 589



Stud. 133, 147-48 (1975). Congress thus passed the GCA to curb easy access to

these deadly weapons and solve the “interstate mail order gun problem.” Id. at 145

(citing an unpublished report from Senator Thomas Dodd). The GCA must be read

in light of that context and overall scheme. See FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 133 (2000). That means adopting a commonsense,

functional understanding of “firearm” that considers proximity to full use and

recognizes the crucial anti-circumvention role that the GCA was designed to play.

      The Final Rule fits within the GCA’s purpose of closing the gaps that led to

widespread interstate trafficking of firearms to unknown individuals despite state

laws intended to prevent those problems. In the same way that mail-order guns

previously enabled “criminals, immature juveniles, and other irresponsible

persons” to obtain firearms when “they could not purchase guns under the laws in

their own jurisdictions,” Zimring, supra at 145, the unregulated supply today of

unserialized gun parts lets people evade the gun laws of their states. This modern

incarnation of the mail-order gun problem also undermines the purposes of the

GCA: to “control the indiscriminate flow of [guns] across State borders” and to

“[e]nsure that strong local or State laws are not subverted by a deadly interstate

traffic in firearms.” H.R. Rep. No. 90-1577, at 8, 19 (1968).

      For example, according to a House Judiciary Committee Report, Congress

banned the “interstate mail-order shipments of firearms . . . so that State and local

                                         7
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 15 of 28 PageID 590



authorities may better exercise the controls they deem desirable over . . . such

firearms.” H.R. Rep. No. 90-1577, at 12 (emphasis added) (explaining 18 U.S.C.

§ 922(a)(2)). Legislators also banned licensees from selling to persons barred from

gun ownership in the state where the licensee does business—as well as to those

who the licensee believes do not reside in that state—to close a recurring loophole

in state-only enforcement: “the avoidance of State and local laws controlling

firearms by the simple expediency of crossing a State line to purchase one.” Id. at

14 (emphasis added) (explaining 18 U.S.C. § 922(b)(2)-(3)). At bottom, the GCA

was meant to protect the integrity of state gun laws against interstate

circumvention—a task Congress correctly recognized was uniquely suited for the

federal government:

      [C]ontrols on interstate gun traffic which only the Federal
      Government can apply, and without which no State gun law is worth
      the paper it is written on[,] [are vital]. . . . . Without such Federal
      assistance, any State gun law c[ould] be subverted by any child,
      fugitive, or felon who orders a gun by mail or buys one in a
      neighboring State which has lax gun laws.

114 Cong. Rec. 13647 (1968) (statement of Sen. Joseph Tydings).

      If the GCA was crafted to solve a circumvention problem presented by mail-

order guns, then it must also be read to solve an identical circumvention problem

presented by ghost guns. Indeed, the Supreme Court has instructed courts to

interpret the GCA practically, to focus on “substance” and not “empty formalities.”

Abramski, 573 U.S. at 180. By updating the GCA’s critical definitions to cover
                                        8
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22          Page 16 of 28 PageID 591



advances in firearms technology, the Final Rule is faithful to that guidance. See

infra Section II.C.

   II.        The Final Rule Complements State Efforts To Regulate Unserialized
              Firearms.

         Absent federal regulation, unserialized firearms have flooded Amici States’

communities. Many of these weapons end up in the hands of people banned from

gun ownership, directly undermining the GCA’s core provisions as well as state

law. See 87 Fed. Reg. at 24657 n.20. At the same time, gun violence and

homicides have spiked in recent years. In response to this influx, many states

(including Amici States) have passed laws regulating weapon parts kits and

partially complete frames or receivers.         The Final Rule lends critical federal

support to these existing state efforts.1

         A.     At least 14 jurisdictions, including the District, have passed their
                own laws regulating kits and other unserialized firearms.
         As the primary actors charged with “defining and enforcing criminal laws,”

states are responsible for addressing the violence associated with weapon parts kits

and their resulting firearms.     Torres v. Lynch, 578 U.S. 452, 464 n.9 (2016)


         1
             A broad group of states has long recognized the problem posed by
unserialized guns, and many criminalize the removal of a serial number from a
firearm (or the possession of a firearm so altered). See, e.g., Ala. Code
§ 13A-11-64; Mont. Code Ann. § 45-6-326; Neb. Rev. Stat. §§ 28-1207, -1208;
Ind. Code § 35-47-2-18; S.D. Codified Laws § 22-14-5; Tex. Penal Code Ann.
§ 31.11.

                                            9
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 17 of 28 PageID 592



(internal quotation mark and citation omitted). In light of the surge of kits and

unserialized guns, states have targeted the possession, manufacture, and transfer of

such firearms, and have imposed detailed marking and recordkeeping requirements

on licensees.

      For example, at least thirteen jurisdictions target the possession of

unserialized firearms. Three specifically define and target the possession of any

“ghost gun.”    See D.C. Code §§ 22-4514, 7-2501.01(9B); N.Y. Penal Law

§ 265.01(9)-(10); R.I. Gen. Laws Ann. §§ 11-47-8(e), -2(8). Others do the same,

albeit using different language.2 And at least one state prohibits people who are

otherwise banned from gun ownership from also possessing an unserialized frame

or receiver or similar component part. See Conn. Gen. Stat. Ann. § 53-206j(f).

      At least eight states also target the ghost gun manufacturing and assembly

process. One prescribes a detailed scheme for regulating self-manufacturing—

specifically, requiring someone to apply for a unique serial number from the state,

engrave that number on the gun’s frame or receiver, and pass a background check.

See Conn. Gen. Stat. Ann. §§ 29-36a, 53-206j.           Four others prohibit the


      2
              See, e.g., Cal. Penal Code §§ 16519, 16531, 30400; Del. Code Ann.
tit. 11, § 1459A(b); Haw. Rev. Stat. Ann. § 134-10.2; 720 Ill. Comp. Stat. Ann.
5/24-5.1(c), (d); Md. Code Ann., Pub. Safety § 5-703(b)(2); Minn. Stat. Ann.
§ 609.667(3); Nev. Rev. Stat. Ann. § 202.363; N.J. Stat. Ann. § 2C:39-9(k); 2022
Wash. Sess. Laws ch. 105 § 4 (S.H.B. 1705) (to be codified at Wash. Rev. Code
Ann. § 9.41).

                                        10
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 18 of 28 PageID 593



manufacturing of an untraceable firearm or the acquisition of certain component

parts for the purpose of building a firearm. See Cal. Penal Code §§ 16519, 16531,

30400; Haw. Rev. Stat. Ann. § 134-10.2; N.J. Stat. Ann. § 2C:39-9(k); 2022 Wash.

Sess. Laws ch. 105 § 4 (S.H.B. 1705) (to be codified at Wash. Rev. Code Ann.

§ 9.41). The rest have more generalized restrictions.3

      Many states also target the sale and transport of unserialized firearms and

their component parts. At least twelve jurisdictions criminalize the sale or transfer

of unserialized firearms and partially complete frames or receivers, either generally

or when transferred to non-licensees or prohibited persons.4 And many states place

detailed restrictions on dealers at the point of sale, using background checks,

recordkeeping, and serialization requirements.5




      3
             See, e.g., Mass. Gen. Laws ch. 269, § 11E; Nev. Rev. Stat. Ann.
§ 202.3635; R.I. Gen. Laws Ann. § 11-47-8(e).
       4
             See Cal. Penal Code § 30400; Conn. Gen. Stat. Ann. § 29-36a(d); Del.
Code Ann. tit. 11, § 1459A; D.C. Code §§ 7-2504.08(a), 7-2505.01-.02; Haw. Rev.
Stat. § 134-10.2; 720 Ill. Comp. Stat. Ann. 5/24-5.1(b); Md. Code Ann., Pub.
Safety § 5-703(a)(1)-(2); Mass. Gen. Laws ch. 269, § 11E; Nev. Rev. Stat. Ann.
§§ 202.3625, .364; N.J. Stat. Ann. § 2C:39-9(n); N.Y. Penal Law §§ 265.60-.64;
R.I. Gen. Laws Ann. § 11-47-8(e).
       5
             See, e.g., Cal. Penal Code §§ 29180, 29182; Del. Code Ann. tit. 11,
§§ 1448A, 1448B, 1459A; 720 Ill. Comp. Stat. Ann. 5/24-5.1; Md. Code Ann.,
Pub. Safety § 5-703; Mass. Gen. Laws ch. 269, § 11E; N.J. Stat. Ann. § 2C:58-2;
N.Y. Penal Law § 265.07; R.I. Gen. Laws Ann. § 11-47-40; 2022 Wash. Sess.
Laws ch. 105 § 6 (S.H.B. 1705) (to be codified at Wash. Rev. Code Ann. § 9.41);
Wash. Rev. Code Ann. §§ 9.41.092, .111, .113.

                                         11
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22      Page 19 of 28 PageID 594



      B.    Despite state efforts, the number of unserialized firearms has
            grown exponentially.
      Absent federal enforcement, however, states and other localities (including

those with laws targeting ghost guns) have continued to see self-assembled,

unserialized firearms flow into their communities. For example, in 2018, six

different police agencies reported the following ghost gun recovery numbers: San

Diego (53), the District of Columbia (25), Chicago (21), New York City (18),

Philadelphia (17), and Prince George’s County, Maryland (17). Travis Taniguchi

et al., Nat’l Police Found., The Proliferation of Ghost Guns: Regulation Gaps and

Challenges for Law Enforcement 15 (2021) (hereinafter “NPF Report”),

https://bit.ly/3yLOFLz. Three years later, in 2021, those numbers skyrocketed—

even in states regulating ghost guns—with the same agencies reporting ten- to

thirty-fold increases: San Diego (545), District of Columbia (439), Chicago (455),

New York City (225), Philadelphia (571), and Prince George’s County (264).6

Across the country, the story is the same: federal recovery numbers for

      6
               See Ryan Hill, ‘Ghost guns are everywhere’: San Diego’s firefight
continues to get ghost guns off of the street, ABC 10 News (Feb. 19, 2022),
https://bit.ly/3M6YcjS (San Diego); Data on file with the Metropolitan Police
Department (current as of June 29, 2022) (District of Columbia); Jeff Pegues, Rise
in crime fueled in part by ‘ghost’ guns, ATF says, CBS News (Feb. 2, 2022),
https://cbsn.ws/3NPmkbp (Chicago and New York City); Brian Saunders,
Philadelphia arrests gunmaker as Biden regulates ghost guns, Phila. Tribune (Apr.
11, 2022), https://bit.ly/3NCFmTh (Philadelphia); Ovetta Wiggins, Baltimore
plans to sue ‘ghost gun’ part maker as state law takes effect, Wash. Post (May 31,
2022), https://wapo.st/3PXsrwU (Prince George’s County).

                                       12
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 20 of 28 PageID 595



unserialized guns have soared, jumping eleven-fold between 2016 and 2021. 87

Fed. Reg. at 24656.

      The number of ghost gun sellers has also proliferated, making these weapons

increasingly accessible. According to the ATF, there are about 129 companies

selling weapon parts kits or partially complete frames or receivers. See 87 Fed.

Reg. at 24718. These companies operate in 27 states across the country. NPF

Report 2. And the number of ghost gun sellers has been steadily increasing for

years—a phenomenon that tracks the increasing spread of ghost guns nationwide.

See Everytown for Gun Safety, Untraceable: The Rising Specter of Ghost Guns 13

(2020), https://bit.ly/3m6LRBt (finding 26 ghost gun sellers in 2014 compared to

80 sellers by 2020). Moreover, weapon parts kits are affordable and user friendly,

with some costing less than $100 and requiring only “a few tools” and “basic

instructions” to “build a fully functional firearm.” JSDSupply, Stealth Arms Parts

& Kits, https://bit.ly/3yhxQGY (last visited July 8, 2022); see Polymer80, 80

Lower, https://bit.ly/3PZCS2M (last visited July 8, 2022).

      This combination of widespread access and federal inaction has made it

easier for individuals to circumvent state gun laws, bringing unserialized weapons

into the very states that have been trying to keep them out. For example, even

though California has attempted to curb unserialized guns since at least 2016, these

weapons accounted for nearly 30 percent of all guns recovered in the state by the

                                        13
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 21 of 28 PageID 596



ATF. NPF Report 5. Meanwhile, the number of unserialized guns recovered by

California law enforcement agencies increased from 167 in 2016 to nearly 12,400

in 2021, a 74-fold increase. Cal. Dep’t of Just., Armed and Prohibited Persons

System Report 2021 at 26, https://bit.ly/3uljKDs (last visited July 8, 2022).

According to local authorities, that is because guns are easily trafficked across the

state’s borders. See Bill Whitaker, Ghost Guns: The build-it-yourself firearms that

skirt most federal gun laws and are virtually untraceable, CBS News (May 10,

2020), https://cbsn.ws/3Li5zoM (interviewing the Los Angeles County Sheriff).

Similarly, New Jersey has regulated unserialized firearms since at least 2018. But

at the same time, the state has seen large increases in the number of ghost guns

recovered at crime scenes, from 55 guns in 2019 to 101 in 2020 and 255 in 2021.7

More troubling, nearly all ghost guns recovered in New Jersey were assembled

from kits manufactured out of state, and many were used to commit violent crimes

(including murder and aggravated assault).8

      The Final Rule helps curb that phenomenon, advancing the GCA’s core aims

at a time when federal assistance is critical. Without banning the sale of kits or

self-manufactured guns, the Rule ensures that states can at least trace these




      7
             Data on file with New Jersey State Police (current as of May 5, 2022).
      8
             Data on file with New Jersey State Police (current as of May 5, 2022).

                                         14
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 22 of 28 PageID 597



weapons and that they are not bought by criminals or children as a means of

evading state law.

      C.      The Final Rule closes the gaps inherent in state-by-state
              enforcement.

      The Final Rule addresses the problems that have contributed to this alarming

proliferation of untraceable guns in multiple ways. First, by updating the Act’s

definitions, the Rule ensures that sellers run a background check on potential

purchasers before delivering a kit or nearly complete frame or receiver. This

makes it harder for prohibited persons to acquire a gun and thus safeguards the

numerous federal and state laws that have excluded certain people from gun

ownership.9

      Indeed, without meaningful federal oversight, unserialized guns have

regularly fallen into the hands of prohibited persons, with often deadly results. In

2019, for example, a 16-year-old boy killed two classmates and himself with a gun

that had been assembled from a kit. Brad Brooks, California school shooting

shines light on murky ‘ghost gun’ world, Reuters (Nov. 22, 2019),

https://reut.rs/3MO4fuc. That same year, a man with multiple felony convictions

used a self-made semi-automatic rifle, assembled from parts, to kill one police

officer and injure two others. Andrew Blankstein & Eric Leonard, Ex-con who

      9
           See, e.g., 18 U.S.C. § 922(g); Del. Code Ann. tit. 11, § 1448; D.C.
Code § 22-4503; Nev. Rev. Stat. Ann. § 202.360; N.J. Stat. Ann. § 2C:58-3(c).

                                        15
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 23 of 28 PageID 598



killed California cop used homemade ‘ghost gun,’ NBC News (Aug. 15, 2019),

https://nbcnews.to/3vLC09U. The data tell a similar story.10 By exerting the

ATF’s authority over kits and readily convertible frames or receivers, the Final

Rule helps keep these guns away from felons and children, consistent with

Congress’s intent. See supra Part I.

      Second, the Final Rule ensures that licensees mark kits and nearly complete

frames or receivers with a unique serial number and keep records of all relevant

transactions.   Tracing is a critical law enforcement tool, and over 8,600 law

enforcement agencies across 46 countries rely on the ATF’s web-based tracing

application. 87 Fed. Reg. at 24659. But that service has limited utility if a large

number of unserialized guns are excluded and federal and state record-keeping

laws are not enforced. See 18 U.S.C. § 923(g); see also supra Part II.A. The

effective administration of justice will be thwarted if prosecutors cannot trace guns

and use such evidence to enforce the Act’s provisions against straw purchasers,

firearms traffickers, and gun thieves. See 87 Fed. Reg. at 24660.



      10
             In New Jersey, nearly 40 percent of all people arrested with a ghost
gun from 2021 to mid-2022 had been banned from gun ownership because of their
criminal records. Data on file with New Jersey State Police (current as of May 5,
2022). In Philadelphia, roughly half of the 478 people arrested in 2021 for the
possession or use of a ghost gun had been banned because of disqualifying
convictions, including violent felonies. Data on file with the Pennsylvania Office
of the Attorney General (current as of May 17, 2022).

                                         16
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22        Page 24 of 28 PageID 599



      Third, the Final Rule may also help states apply their own laws to avoid gaps

that would allow ghost guns to proliferate. State authorities often follow the

ATF’s lead when drafting or assessing the scope of their own gun laws. See, e.g.,

Cal. Penal Code § 16519 (defining a key term based on federal gun regulations);

Moore v. State, 983 A.2d 583, 595 (Md. Ct. Spec. App. 2009) (explaining that the

state legislature enacted certain gun laws expecting they would be read “consistent

with federal law”). This ripple effect makes the Final Rule even more critical to

state gun schemes, as it not only fills the gaps in enforcement described above, but

also helps states interpret or revise their own gun laws, in keeping with Congress’s

intent. H.R. Rep. No. 90-1577, at 8, 12.

      The Final Rule helps stop a growing segment of the modern gun industry

from exploiting new technology to widen the very gaps that the GCA sought to

close. It is therefore no surprise that law enforcement “strongly supports” efforts

to treat ghost guns the same as other firearms. Int’l Ass’n of Chiefs of Police,

2018 Resolutions 15 (Nov. 2018), https://bit.ly/3vya4Fb. The Final Rule makes

crucial clarifications to the GCA’s definitions and helps states fulfill their “very

highest duty” to safeguard the lives and well-being of their citizens. United States

v. Cruikshank, 92 U.S. 542, 553 (1875).         It falls squarely within the GCA’s

framework and should be upheld.




                                           17
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 25 of 28 PageID 600



                                CONCLUSION

     This Court should deny the plaintiffs’ motion for injunctive relief.




                                        18
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22      Page 26 of 28 PageID 601



Dated: August 30, 2022

                                           Respectfully submitted,

     MATTHEW J. PLATKIN                KARL A. RACINE
     Acting Attorney General           Attorney General for the District of
     for the State of New Jersey       Columbia

     MELISSA MEDOWAY                   CAROLINE S. VAN ZILE*
     Special Litigation Chief          Solicitor General
     Deputy Attorney General
                                       ASHWIN P. PHATAK
     TIM SHEEHAN                       Principal Deputy Solicitor General
     Deputy Attorney General

     The Office of the Attorney        Office of the Solicitor General
     General of New Jersey             Office of the Attorney General
     Richard J. Hughes Justice         for the District of Columbia
     Complex                           400 6th Street, NW, Suite 8100
     25 Market Street, P.O. Box 112    Washington, D.C. 20001
     Trenton, NJ 08625                 (202) 724-6609
     (609) 376-3232                    caroline.vanzile@dc.gov
     melissa.medoway@njoag.gov

     JOSH SHAPIRO                      /s/ Will Thompson
     Attorney General for the          Will Thompson
     Commonwealth of Pennsylvania      TX State Bar No. 24094981
                                       Quinn Emanuel Urquhart & Sullivan, LLP
     JACOB B. BOYER                    3100 McKinnon Street, Suite 1125
     Deputy Attorney General           Dallas, TX 75201
                                       (469) 902-3200
     Office of the Attorney General    (469) 902-3610 (fax)
     for the Commonwealth of           willthompson@quinnemanuel.com
     Pennsylvania                      Local Counsel
     1600 Arch Street, Suite 300
     Philadelphia, PA 19103            *Pro hac vice application forthcoming
     (267) 768-3968
     jboyer@attorneygeneral.gov


                                      19
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22   Page 27 of 28 PageID 602




   On behalf of:

   ROB BONTA                         PHILIP J. WEISER
   Attorney General                  Attorney General
   State of California               State of Colorado

   WILLIAM TONG                      KATHLEEN JENNINGS
   Attorney General                  Attorney General
   State of Connecticut              State of Delaware

   HOLLY T. SHIKADA                  KWAME RAOUL
   Attorney General                  Attorney General
   State of Hawaii                   State of Illinois

   AARON M. FREY                     BRIAN E. FROSH
   Attorney General                  Attorney General
   State of Maine                    State of Maryland

   MAURA HEALEY                      DANA NESSEL
   Attorney General                  Attorney General
   Commonwealth of                   State of Michigan
   Massachusetts

   KEITH ELLISON                     LETITIA JAMES
   Attorney General                  Attorney General
   State of Minnesota                State of New York

   JOSHUA H. STEIN                   ELLEN F. ROSENBLUM
   Attorney General                  Attorney General
   State of North Carolina           State of Oregon

   PETER F. NERONHA                  ROBERT W. FERGUSON
   Attorney General                  Attorney General
   State of Rhode Island             State of Washington

   JOSHUA L. KAUL
   Attorney General
   State of Wisconsin
                                    20
Case 4:22-cv-00691-O Document 47-1 Filed 08/30/22       Page 28 of 28 PageID 603



                         CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2022, a true and accurate copy of the

foregoing brief was filed electronically with the Court using the CM/ECF system.

Notice of this filing will be sent to all parties for whom counsel has entered an

appearance by operation of the Court’s electronic filing system.

                                                   /s/ Will Thompson
                                                   Will Thompson




                                        21
